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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 2:16-cv-14562-RLR


  SALVATORE SOFIA, on behalf of himself
  and all others similarly situated,


         Plaintiff,

  v.

  SOLOMON, VIGH, P.A., a Florida
  Professional Corporation and
  MARVIN SOLOMON, individually,

        Defendants.
  _________________________________________/

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Defendants, SOLOMON VIGH, P.A. and MARVIN SOLOMON and the Plaintiff,

  SALVATORE SOFIA, by and through the undersigned counsel, pursuant to Federal Rule of

  Civil Procedure 41(a)(1)(A)(ii) hereby STIPULATE AND AGREE, that the above cause, having

  been amicably resolved, be dismissed with prejudice as to all claims, between all parties, with

  each party to bear their own costs and attorneys’ fees in this matter.



                                                        Respectfully submitted,

                                                        /s/ Leo W. Desmond
                                                        Leo W. Desmond, Esq.
                                                        Florida Bar No. 0041920
                                                        DESMOND LAW FIRM, P.C.
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                                                        Attorney for Plaintiff


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                                                        /s/ Robert A. Vigh
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                                                        Attorney for Defendants



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 4, 2017, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

  this day via U.S. Mail and/or some other authorized manner for those counsel or parties who are

  not authorized to receive electronically Notices of Filing to:

  SERVICE LIST
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  Attorney for Defendants                                          Respectfully submitted,

                                                                   /s/ Leo W. Desmond
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